920 F.2d 926Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ruth Elizabeth FABRITIUS, Plaintiff-Appellant,v.UNKNOWN ASSAILANTS, United States of America, Defendants-Appellees.
    No. 90-1820.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 3, 1990.Decided Dec. 14, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., District Judge.  (CA-90-1417-N)
      Ruth Elizabeth Fabritius, appellant pro se.
      E.D.Va.
      DISMISSED.
      Before K.K. HALL, MURNAGHAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ruth Elizabeth Fabritius appeals from the district court's order denying her leave to proceed in forma pauperis.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny leave to proceed in forma pauperis on appeal and dismiss on the reasoning of the district court.  Fabritius v. Unknown Assailants, CA-90-1417-N (E.D.Va. June 21, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    